    Case
UNITED   1:18-cv-06626-ALC-KNF
       STATES   DISTRICT COURT Document 206 Filed 10/27/20 Page 1 of 1
SOUTHERN DISTRICT OF NEW YORK

Actava TV, Inc., Master Call Communications, Inc.,              )
Master Call Corporation, and Rouslan Tsoutiev,                  )
                                                                ) Index No.: 1:18-cv-06626
                                       Plaintiffs,               ) (ALC/KNF)
                                                                )
                -against-                                       )
                                                                )
Joint Stock Company “Channel One Russia Worldwide,”
                                                                                ORDER
Closed Joint Stock Company “CTC Network,” Closed                )
Joint Stock Company “New Channel”, Limited Liability            )
Company “Rain TV-Channel,” Open Joint Stock                     )
Company “ACCEPT”, and Limited Liability Company                 )
“Comedy TV,” and Kartina Digital GmbH,                          )
                                                                )
                                       Defendants.              )
                                                                )



        The plaintiffs filed a letter, Docket Entry No. 204, and have requested that it be

placed under seal and be accessible only to the attorneys appearing for the parties and court

personnel. The Court respectfully directs the Clerk of Court to modify the viewing level

for the plaintiffs' letter, Docket Entry No. 204, to the Selected Parties: the attorneys for the

plaintiffs and the attorneys for the defendants, and court personnel. The plaintiffs are

directed to file a redacted copy of the letter with the Clerk of Court expeditiously so that

the public may access it.

IT IS SO ORDERED.

Dated this 27 day of October 2020.


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                                               Hon. Kevin Nathaniel Fox, U.S.M.J.
